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IN THE UNITED sTATEs DISTRICT coURT m"BY-% 9-3-

 

FOR THE wEsTERN DISTRICT oF TENNESSE
wEsTERN DIvIsIoN FUS AUG 23 m 5’ 52
TrBMASM.W
IN RE: MUS_WTRMM
WDUFH?&WHE
cONCORD EFS, INC., No. 02-2697-Ma

SECURITIES LITIGATION

 

ORDER REGARDING MOTION FOR CLASS CERTIFICATION

 

On October 22, 2004, plaintiffs filed a motion for class
certification (D.E. #116). On July 22, 2005, the court entered
an order granting a motion for preliminary approval of settlement
and conditionally certifying the class (D.E. #131). The motion
for class certification is therefore resolved and the motion is

IT`lOOt .

It is so ORDERED this q:L'&day of August, 2005.

SAMUEL H. MAYS, JR.
UNITED S'I‘A'I‘ES DISTRICT JUDGE

 

Ti»is document entered nn the docket sheet in compliance
with F\u|e 58 and/or 79(e) FRCP on

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UNIT'AT'ED`TE DISTRIC COURT - WESERN DISITTRC 0 TNNESSEE

    

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